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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA



UNITED STATES OF AMERICA,             )        Case No. 8:18CB8
                                      )        Violation Notice No. 6253449 NE22
                                      )
                           Plaintiff, )
         vs.                          )            ORDER
                                      )
                                      )
BONNIE L. ELLISON,                    )
                                      )
                           Defendant. )


     IT IS ORDERED:

      The court grants the defendant’s request to extend the time in which to pay her fine.

The arrest warrant for the defendant issued on August 28, 2018, is canceled. This matter

is scheduled for hearing on October 30, 2018, at 9:00 a.m. in Courtroom No. 7, Second

Floor, Roman L. Hruska United States Courthouse, 111 South 18th Plaza, Omaha,

Nebraska. The defendant shall either pay the fine in full before this date or shall appear

at the hearing scheduled for October 30, 2018. If the defendant fails to pay her fine or

appear on October 30, 2018, a warrant may issue for her arrest.

      Dated this 25th day of September, 2018.


                                                BY THE COURT:


                                                s/ Susan M. Bazis
                                                United States Magistrate Judge
